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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


JASON SERRANO,

                              Plaintiff,
                                                               Case No. 22-cv-1989
       ― against ―
                                                                  COMPLAINT
THE CITY OF NEW YORK, KYLE ERICKSON,
and ELMER PASTRAN,                                           JURY TRIAL DEMANDED
                              Defendants.



               Plaintiff Jason Serrano (“Plaintiff” or “Mr. Serrano”) files this action

against Defendants Kyle Erickson and Elmer Pastran (the “Individual Defendants”),

each in his individual capacity; and the City of New York; and alleges as follows:

                                NATURE OF THE ACTION

               1.     Mr. Serrano brings this action under New York state law and under

42 U.S.C. § 1983 to recover damages relating to his false arrest, malicious prosecution,

and denial of a fair trial.

               2.     Elmer Pastran and Kyle Erickson planted drugs on Mr. Serrano, the

exact same thing they did to other Lasou Kuyateh just weeks earlier.

               3.     If not for body-worn camera footage and the persistence of his

criminal defense attorneys, Mr. Serrano would have a conviction on his record to this

day arising out of an illegal traffic stop.

               4.     Mr. Serrano spent three days shackled to a hospital bed due to the

officers’ malfeasance, months on supervised release, hours in court, and three years
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with a misdemeanor guilty plea on his record because the officers planted drugs on

him.

              5.     He brings this action to recover damages for their egregious and

malicious wrongdoing.

                              JURISDICTION AND VENUE

              6.     This action arises under 42 U.S.C. §§ 1983 and 1988 and the laws of

the State of New York.

              7.     Jurisdiction lies in this Court under its federal question and civil

rights jurisdiction, 28 U.S.C. §§ 1331 and 1343.

              8.     Pendant jurisdiction over the state law claims lies under 28 U.S.C. §

1367.

              9.     Venue is proper in this Court under 28 U.S.C. § 1391 because

Plaintiff’s claims arose within the Eastern District of New York.

                                        PARTIES

              10.    Plaintiff Jason Serrano is a resident of Staten Island, New York and

a citizen of the United States.

              11.    Defendant Kyle Erickson was an officer in the New York City

Police Department, who at all relevant times acted under color of state law, and who is

sued in his individual capacity.

              12.    Defendant Elmer Pastran is an officer in the New York City Police

Department, who at all relevant times acted under color of state law, and who is sued in

his individual capacity.
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              13.     Defendant City of New York is a municipal corporation existing

under the laws of the State of New York.

                                  GENERAL ALLEGATIONS

              14.     In March 2018, Jason Serrano was arrested during a traffic stop in

which the officers unlawfully arrested him, planted marijuana in a car, and later

claimed to have found a bag of crack cocaine in his jacket.

              15.     The car, in which he was a passenger, was purportedly stopped as

a result of a broken taillight.

              16.     Immediately upon approaching the car, the Defendants accused the

Plaintiff of smelling like marijuana and claimed to smell a strong odor of marijuana

emanating from the vehicle. There was no such smell.

              17.     The officers then demanded Mr. Serrano, who had recently been

stabbed, get out of the car.

              18.     Mr. Serrano showed the officers his injuries in order to demonstrate

that getting out of the vehicle would be difficult. The officers still demanded he get out

of the vehicle.

              19.     When Mr. Serrano got out of the vehicle, he picked up his jacket, as

he was cold and wanted to put it on.

              20.     The officers asked him to “do them a favor” and hand it to them.

Mr. Serrano, who wanted to put it on, did not want to do them that favor, and showed

them that there was nothing in the jacket.
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              21.    The officers then cuffed Mr. Serrano and took him down to the

ground.

              22.    Mr. Serrano relented to the unlawful arrest.

              23.    The officers then began to search the vehicle, looking for

contraband to justify their illegal seizure.

              24.    Defendant Erickson searched the vehicle, and when he could not

find any contraband, he returned to Defendant Pastran and said he could not find

anything but that they “had to find something.”

              25.    In order to “find” something, Erickson decided to plant marijuana

in the car.

              26.    After finding nothing, Erickson attempts to shut off his body worn

camera, and even makes a show for the other officers’ cameras, exclaiming that “it went

off.”

              27.    It had not gone off, and had Erickson actually managed to turn it

off, evidence that he plants evidence on innocent citizens might not exist.

              28.    Erickson is seen on his body worn camera placing marijuana in the

car.

              29.    Later in the video he “finds” the marijuana, and announces that

he’s “gonna grab the little bit of weed.”

              30.    The officers also discussed not giving the driver a summons,

because she was “very cooperative.”
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              31.     Officer Erickson, however, makes clear they “should” because of

the “whole situation,” namely that they had illegally searched the vehicle, illegally

arrested Mr. Serrano, and planted marijuana in the vehicle.

              32.     Defendants are very cognizant of attempting to evade the detection

of their body worn cameras. At one point, Defendant Erickson can be heard telling the

other officers “he’s live.”

              33.     Officer Erickson can then be heard joking that he has to hold onto

the planted marijuana.

              34.     Officer Pastran then can be heard saying “I’m killing mine” in

reference to his body worn camera.

              35.     Officer Erickson follows saying “turning completely off.”

              36.     The officers had stored the marijuana in their vehicle.

              37.     Florets of marijuana can be seen on the floor of the vehicle when

they return to the vehicle, before turning off their body worn cameras.

              38.     Mr. Serrano was held at a hospital, chained to a hospital bed, for

over three days after the arrest.

              39.     He was arraigned on day three.

              40.     He was charged with obstructing governmental administration,

resisting arrest, possession of marijuana, and possession of crack cocaine.

              41.     He was placed on supervised release as a result of those charges

and had to attend in person and phone check ins with the supervised release program.
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              42.      He was innocent of all charges and the drugs had been planted on

him by the officers.

              43.      On June 18, 2018, Mr. Serrano attended a court hearing with his

counsel.

              44.      He had missed a supervised release session but appeared at the

hearing nonetheless.

              45.      At that hearing, the people also offered a plea to a violation of New

York Penal Law 205.30, resisting arrest, and five days in jail, and requested bail of

$1,000.

              46.      Mr. Serrano intended to reject the offer of the plea, because he was

innocent of the charges.

              47.      The judge set bail however, which Mr. Serrano could not pay, and

set his next court date three days from the court date.

              48.      Functionally, Mr. Serrano was being asked to plea and go home, or

serve three days in jail for a crime he did not commit.

              49.      Mr. Serrano, without the benefit of the exculpatory evidence

showing the officers’ numerous misdeeds, decided he wanted to plea rather than go to

Rikers. Mr. Serrano was ultimately allowed to plea to resisting and was able to go

home.

              50.      He was held in the courthouse for hours until it could be

determined that he had served the necessary time to be released from court directly that

day.
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             51.    In June 2020, with the benefit of the clearly exculpatory body-worn

camera footage, Mr. Serrano moved to vacate his conviction.

             52.    The Staten Island District Attorney’s Office opposed and defended

the conviction.

             53.    On October 29, 2021, his conviction was vacated by Judge Tamiko

Amaker in the Criminal Court of Richmond County.

             54.    The charges were dismissed and sealed on November 9, 2021.

             55.    Mr. Serrano then filed a notice of claim with the City of New York,

which did not schedule a 50-h hearing pursuant to state law.

                              FIRST CAUSE OF ACTION

           FALSE ARREST, EXCESSIVE PREARRAIGNMENT DETENTION,
                      AND MALICIOUS PROSECUTION
                     UNDER NEW YORK STATE LAW AND
             THE FOURTH AMENDMENT AND 42 U.S.C. SECTION 1983
                    (Against Defendants Serrano and Pastran)


             56.    Plaintiff repeats and re-alleges each and every allegation set forth

above.

             57.    Acting individually and in concert, the Police Defendants deprived

Plaintiffs of their rights under the Fourth and Fourteenth Amendments to the United

States Constitution to be free of unreasonable search and seizure and to their liberty by

detaining, searching, arresting, confining, causing the confinement, and/or continuing

the confinement of Plaintiffs without any privilege to do so.

             58.    All alleged probable cause to arrest in this action was based on

fabrication by the Defendant officers.
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              59.    The officers further caused Mr. Serrano to be detained for more

than 48 hours pre-arraignment in violation of state and Federal law,

              60.    Because Mr. Serrano pled to time served, he had no cause of action

for false arrest until the conviction was overturned.

              61.    Plaintiff was conscious of his confinement and did not consent to it.

              62.    Post-arraignment, he was subject to pretrial supervision and forced

to appear in court for a crime he did not commit.

              63.    After pleading guilty, Plaintiff was held in corrections custody at

while corrections calculated his sentence. He was not released from corrections custody

until the sentence was calculated.

              64.    Mr. Serrano suffered emotional, reputational, and economic

damages as a result of the conviction.

                            SECOND CAUSE OF ACTION

                 DENIAL OF DUE PROCESS AND A FAIR TRIAL
              UNDER THE FIFTH AND FOURTEENTH AMENDMENTS
                         AND 42 U.S.C. SECTION 1983

                       (Against Defendants Erickson and Pastran)


              65.    Plaintiff repeats and realleges each and every allegation set forth

above.

              66.    At all times, the Defendants were acting under color of State law.

              67.    The Fifth and Fourteenth Amendments protect the right to be given

a fair trial and not to have false evidence presented against you.

              68.    Mr. Erickson and Mr. Pastran planted evidence on Mr. Serrano.
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              69.     On March 14th, 2020, Mr. Pastran and Mr. Erickson forwarded that

fabricated evidence to prosecutors in the form of planted physical evidence and false

written statements.

              70.     But for forwarding the fabricated evidence on March 14th, 2020, Mr.

Serrano would not have been arraigned on charges and would have been released from

police custody at the hospital.

              71.     Together, by forwarding false information to the prosecutors that

was likely to influence a jury verdict, the Defendants deprived the Plaintiff of his liberty

and property.

                               THIRD CAUSE OF ACTION

   MUNICIPAL LIABILITY FOR DENIAL OF DUE PROCESS AND A FAIR TRIAL
          UNDER THE FIFTH AND FOURTEENTH AMENDMENTS
    AND 42 U.S.C. SECTION 1983 AND UNDER A THEORY OF RESPONDEAT
                  SUPERIOR AS TO THE STATE LAW CLAIMS

                              (Against the City of New York)


              72.     Plaintiff repeats and realleges each and every allegation set forth

above.

              73.     Defendant the City of New York maintains a custom and policy of

failing to discipline police officers who provide false testimony in sworn charging

documents, which caused Mr. Serrano to suffer the loss of liberty described in this

Complaint.

              74.     In June 2018, NYPD Commissioner James P. O’Neill appointed an

independent panel to conduct a review of the NYPD’s internal discipline system. The
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panel consists of the Honorable Mary Jo White, its chair; the Honorable Robert L.

Capers; and the Honorable Barbara S. Jones.

              75.    That panel found that the NYPD’s internal processes encourage

and condone false statements.

              76.    First, while patrol guide §203-08 requires dismissal for making an

intentional false statement, officers are almost never charged under this section and are

instead charged under provisions that tolerate their behavior.

              77.    Second, even where officers were found to have violated § 203-08,

the Department’s trial commissioners recommended punishments that allowed officers

to remain employed despite the presumptive dismissal penalty.

              78.    Indeed, the City’s Commission to Combat Police Corruption has

recommended that the NYPD charge under §203-08, but the Department refuses to do

so.

              79.    Third, the panel noted that the practice of “handing off” arrests for

administrative convenience leads to false testimony from officers, who claim to have

witnessed all facts in a case, when in fact, they did not. This practice allows certain

officers to earn overtime, but according to police supervisors, tolerating “this

practice…promotes a culture in which more egregious falsehoods occur.”

              80.    Prosecutors in the five New York City District Attorneys’ offices

take pains to protect officers they know to be frequent fabricators. In one instance in

Staten Island, for example, an ADA dismissed a case in order not to “burn” one of the
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police officers’ from revealing his false statements. No case was brought against that

officer for perjury.

                   81.      The practice of “testilying” has become so ingrained in the NYPD

that it spawned that neologism. There are never consequences for those officers. The

New York Times reported on a similar instance in the Bronx, where officers lied about a

search that happened in a New York City, claiming that they moved a laundry bag in a

hallway and felt a heavy thud inside it as they moved it. That never happened. When

video disproving the incident was found, the case was dropped, but the police officers

were not charged for their perjury. The Times reviewed 25 other cases with similar

testilying issues.1

                   82.      Erickson and Pastran, repeatedly planted marijuana on citizens

without any punishment, in keeping with this pattern and practice.

                   83.      The culture of fabricating evidence and testilying created by the

failure to discipline officers for their false testimony has caused NYPD officers

throughout the city to make up events and charges.

                   84.      Officer Pastran still remains on the force despite his clear

participation in repeated instances of evidence fabrication.

                   85.      Officer Erickson was allowed to retire. He was not terminated.

                   86.      Indeed, Officer Pastran was the one who fabricated evidence in

statements made to the DA in this case in addition to Officer Erickson’s misdeeds.




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    https://www.nytimes.com/2018/03/18/nyregion/testilying-police-perjury-new-york.html
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              87.     Despite the obviousness of the crime, the NYPD and the Staten

Island District Attorney steadfastly denied that there was any wrongdoing, keeping

with their pattern and practice of refusing to discipline NYPD officers for even the most

obvious criminal acts and fabrications.

              88.     Indeed, even after video of the evidence was released, the Staten

Island District Attorney defended the conviction and never pursued charges against

Defendants.

              89.     The City’s failure to do even rudimentary discipline for criminal

acts of fabricating evidence caused the unconstitutional and criminal activity of its

officers, leading to Mr. Serrano’s loss of liberty.

              90.     Mr. Erickson and Mr. Pastran might have gone completely

unpunished – and Mr. Serrano’s innocence never vindicated – unless Mr. Erickson had

not been caught planting marijuana in another car just two weeks prior to this incident.

              91.     The modus operandi was strikingly similar. In that incident, Mr.

Pastran and Mr. Erickson do not find any marijuana after searching the vehicle. In that

incident, Mr. Erickson’s camera shuts off for a period of time. And finally, in that

incident, Mr. Erickson magically finds marijuana that was clearly not visible in the first

search of the vehicle.

              92.     Police and prosecutors did nothing in response to Mr. Erickson and

Mr. Pastran’s coordinated actions to plant marijuana on innocent people, in order to

justify arresting them, even after multiple instances of criminality were caught on video.
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                 93.   The City of New York and the two officers recently settled that case

in this Court.

                 94.   The Staten Island District Attorney’s Office refused to prosecute

Mr. Erickson and Mr. Pastran for their criminal misconduct.

                 95.   The NYPD ratified the behavior. Both officers were cleared

following a “thorough investigation,” according to NYPD spokesperson Phillip Walzak.

The investigation determined that there was “no evidence that the officers conducted

anything but a lawful stop, performed a consensual search, and had probable cause to

arrest the defendant.”

                 96.   On January 4, 2018, PO Erickson had a discrepancy on an invoice

for marijuana and an incomplete or inaccurate property clerk invoice. He received a

slap on the wrist for that discrepancy.

                 97.   That discrepancy was the marijuana Erickson used to plant on Mr.

Kuyateh and Plaintiff.

                 98.   The City of New York, through its police department and the

Staten Island District Attorney, were on notice of Erickson and Pastran’s penchant for

planting evidence and failed to discipline the officers, evincing deliberate indifference

to the rights of New Yorkers.

                 99.   The City of New York has further exhibited deliberate indifference

to the rights of New Yorkers by keeping officers like Mr. Erickson and Mr. Pastran on

the police force despite evidence of criminal wrongdoing.
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WHEREFORE, Plaintiff demands judgment against the Defendants as follows:

            a.     For compensatory damages of not less than $500,000;
            b.     For punitive damages;
            c.     For reasonable attorneys' fees, together with costs and
                   disbursements, pursuant to 42 U.S.C. $ 1988 and to the inherent
                   powers of this Court;
            d.     For pre-judgment interest as allowed by law; and
            e.     For such other and further relief as this Court may deem just and
                   proper.

Dated: New York, New York
       April 7, 2022
                                                    WERTHEIMER LLC




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